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NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

MCKESSON CORPORATION,

                    Plaintiff,
                                                            Civ. No. 18-4132
          v.
                                                            ORDER & JUDGMENT
JANAKIRAM AJJARAPU,

                    Defendant.

THOMPSON, U.S.D.J.

        For the reasons stated in this Court’s Opinion on this same day,

        IT IS on this 8th day of August, 2019,

        ORDERED that Plaintiff’s Motion for Summary Judgment (ECF No. 26) is GRANTED;

and it is further

        ORDERED, ADJUDGED, and DECREED that JUDGMENT IS ENTERED in favor of

Plaintiff and against Defendant in the amount of $8,740,459.06 plus post-judgment interest at the

rate of 1.936%.


                                                             /s/ Anne E. Thompson
                                                            ANNE E. THOMPSON, U.S.D.J.
